EXHIBIT D
 DEPARTMENT OF HEALTH & HUMAN SERVICES                                     CI. "Ss
 Centers for Medicare & Medicaid Services
 7500 Security Boulevard, Mail Stop $2-26-12
 Baltimore, Maryland 21244-1850                                    EATERS for MEDNCARE & MENCAID SERVICES,
 Center for Medicaid, CHIP, and Survey & Certification


 Mr. Don Gregory, Director
Bureau of Health Services Financing                                        NOV    -2    2010
Department of Health and Hospitals
Post Office Box 91030
Baton Rouge, Louisiana 70821-9030

Attention:         Sandra Victor

RE:    Louisiana 09-55

Dear Mr. Gregory:

We have reviewed the proposed amendment to Attachment 4.19-A of your Medicaid State plan
submitted under transmittal number (TN) 09-55. The purpose of this amendment is to ‘provide for
supplemental payments to inpatient non-rural, non-state hospitals that enter into an agreement
with a state or local governmental entity for the purpose of providing healthcare services to low
income and needy patients. The state has agreed to provide certification from the governmental
entities that the Intergovernmental Transfers (IGTs) are voluntary.

We conducted our review of your submittal according to the statutory requirements at sections
1902(a)(2), 1902(a)(13), 1902(a)(30), 1903(a), and 1923 of the Social Security Act and the
implementing Federal regulations at 42 CFR 447 Subpart C. As part of the review process the
State was asked to provide information regarding funding of the State share of expenditures
under Attachment 4.19-A, Based upon your assurances we are pleased to inform you that
Medicaid State plan amendment 09-55 is approved effective January 1, 2010. We are enclosing
the HCFA-179 and the amended plan page.

If you have any questions, please call Sandra Dasheiff, CPA at (214) 767-6490.

                                               Sincerely,




                                          0    Director
                                               Center for Medicaid, CHIP, and Survey & Certification



Enclosures
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                                                                             NOV 1 6 20i0

                                                                           MEDICAID DIRECTOR
   DEPARTMENT OF HEALTH AND HUMAN een ces
   HEALTH C.    INANCING ADMINIS                                                                                       FORM APPROVED
                                     IN                                                                                OMB NO, 0938-0193
     TRANSMITTAL AND NOTICE OF APPROVAL OF |                          !. TRANSMITTAL NUMBER:                     2, STATE

          FOR: HEALTH CARE FINANCING ADMINISTRATION                   3. PROGRAM IDENTIFICATION: TITLE XIX OF THE
                                                                         SOCIAL SECURITY ACT (MEDICAID)
    TO:   REGIONAL ADMINISTRATOR.                         4, PROPOSED EFFECTIVE DATE
          HEALTH CARE FINANCING ADMINISTRATION
          DEPARTMENT OF HEALTH AND HUMAN SERVICES                 January 1, 2010
    5. TYPE OF PLAN MATERIAL (Check One):
          NEW STATE PLAN           AMENDMENT TO BE CONSIDERED AS NEW PLAN          AMENDMENT
                COMPLETE BLOCKS 6 THRU 10 IF THIS IS AN AMENDMENT (Separate Transmittal for each amendment)
   6. FEDERAL STATUTE/REGULATION CITATION:                            7, FEDERAL BUDGET IMPACT:         _¥
      42 CFR 447.321                                                    a, FFY     # 137, 4%ST- yp 7&9 —               * 36-06
                                                                        b.FFY 2011 Wf {89,144,028                      + $668
   §. PAGE NUMBER OF THE PLAN SECTION OR ATTACHMENT:                 9. PAGE NUMBER OF THE SUPERSEDED PLAN
                                                                        SECTION OR ATTACHMENT (if Applicable):
   Attachment 4,19-A, Item 1, Page 101 (4)                           None (New Page)




   10. SUBJECT OF AMENDMENT:             The purpose of this amendment is to provide for supplemental payments to
   inpatient non-rural, non-state hospitals that enter into an agreement with a state or local governmental entity
   for the purpose of providing healthcare services to low income and needy patients.
    11. GOVERNOR’S REVIEW (Check One):
           GOVERNOR'S OFFICE REPORTED NO COMMENT                      & OTHER, AS SPECIFIED:                           .
           COMMENTS OF GOVERNOR’S OFFICE ENCLOSED                       The Governor does not review state plan material.
          NO REPLY RECEIVED WITHIN 45 DAYS OF SUBMITTAL
          fi                  LY   Po

   12,     Vail          Liye                                      16. RETURN TO:

                                                                       State of Louisiana
   13,     TYPED NAME:                                                 Department of Health and Hospitals
       Alan Levine                                                     628 N. 4" Street
   14, ees                                                             PO Box 91030
        ecretary
   15: DATE SUBMITTED:                                                 Baton Rouge,    LA   70821 -9030
          December 30, 2009


                                                                     oa RSG
                                                 FOR REGIONAL OFFICE USE ONLY
   17, DATE RECEIVED:

                                               PLAN APPROVED — ONE COPY ATTACHED
   19, EFFECTIVE DATE OF APPROVED MATERIAL:                         . SIGN,      REGIOWAL        OFFICIAL:

                               JAN - 1 2010                                                        fe            (nm
   21. TYPED NAME:                                                 22, TITLE:
                         William Lasowsxi                              epury          Directo R, Cmcs
   23. REMARKS:
% *Tho-fisealimpactisiunable to-be-determined at thistime-as-this is.a new procese-for-the-siate
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 STATE PLAN UNDER TITLE XIX OF THE SOCIAL SECURITY ACT                                         ATTACHMENT 4.19-A
 MEDICAL ASSISTANCE PROGRAM                                                                       Item 1, Page 101 (4)

 STATE OF LOUISIANA
 PAYMENT FOR MEDICAL AND REMEDIAL CARE AND SERVICES

 METHODS AND STANDARDS FOR ESTABLISHING PAYMENT RATES — OTHER TYPES OF CARE OR
 SERVICE LISTED IN SECTION 1902(A) OF THE ACT THAT IS INCLUDED IN THE PROGRAM UNDER THE
 PLAN ARE DESCRIBED AS FOLLOWS:


                            I.        Supplemental Payments for Low Income and Needy Care
                                      Collaboration Hospitals
                                  Effective for dates of service on or after January 1, 2010, quarterly
                                  supplemental payments will be issued to qualifying non-rural, non-state
                                      acute care hospitals for inpatient services rendered during the quarter.
                                  Maximum aggregate payments to all qualifying hospitals in this group
                                  shall not exceed the available upper payment limit per state fiscal year.
                                      1.    Qualifying Criteria, In order to qualify for the supplemental
                                            payment, the non-rural, non-state hospital must be affiliated with a
                                            state or local governmental entity through a Low Income and
                                            Needy Care Collaboration Agreement.
                                                a.    A non-state hospital is defined as a hospital which is owned or
                                                      operated by a private entity.
                                                b.    A Low Income and Needy Care Collaboration Agreement is
                                                      defined as an agreement between a hospital and a state or local
                                                      governmental entity to collaborate for purposes of providing
                                                      healthcare services to low income and needy patients.
                                 2.        Reimbursement'Methodology. Each qualifying hospital shall
                                           receive quarterly supplemental payments for the inpatient services
                                           rendered during the quarter. Quarterly payment distribution shall be
                                           limited to one-fourth of the lesser of:
                                           a.        the difference between each qualifying hospital’s inpatient
                                                     Medicaid billed charges and Medicaid payments the hospital
                                                     receives for covered inpatient services provided to Medicaid
                                                     recipients. Medicaid billed charges and payments will be based
                                                     on a 12 consecutive month period for claims data selected by
                                                     the Department; or
                                           b.        for hospitals participating in the Medicaid Disproportionate
                                                     Share Hospital (DSH) Program, the difference between the
                                                     hospital’s specific DSH limit and the hospital’s DSH payments
                                                     for the applicable payment period.




TNH      _OQ-SS.          Approval Date.                 NOV -2     QW            Effective Date_|-|-[O
 Supersedes
TN#       WN eu)   Page
     Prospective Conditions of Participation in the Louisiana Private Hospital Upper Payment
                           Limit Supplemental Reimbursement Program

 The     Louisiana     Department    of Health   and   Hospitals   (DHH)   is   establishing   conditions   of
participation for private hospitals and Louisiana units of state or local government to participate
in the Louisiana private hospital upper payment limit supplemental reimbursement program
(Private Hospital UPL), which includes Medicaid supplemental payments under Louisiana State
Plan Amendments TN 09-55, 09-56 and 10-26. The conditions will be effective and will apply
to all payments made under these State Plan Amendments.

I.         No linkage between Indigent Care obligations and UPL Payments

The indigent care obligation of a private hospital that is collaborating with a governmental entity
for purposes of participation in the Private Hospital UPL supplemental payment program will not
be conditioned or measured by the amount of supplemental payments a private hospital receives
under the program. Likewise, the amount of supplemental payments a private hospital receives
under the Private Hospital UPL supplemental payment program will not be conditioned or
measured by the amount of indigent care the private hospital provides, subject to the
documentation and evaluation conditions described in sections I.A and II! below. A participant
may consider the amount of supplemental payments it expects to receive in deciding whether,
and to what degree, it will participate in the indigent care program. A government entity may
consider the historical experience in the indigent care program in deciding whether to make a
contribution of funds, or the amount of such contribution.

A private hospital receiving Medicaid supplemental payments may not be assigned the indigent
care contractual or statutory obligations of a contributing governmental entity. However, a
private hospital that receives Medicaid supplemental payments may provide indigent care by
entering into its own arrangements (contractual or otherwise) with health care providers that had
previously provided indigent care services to the contributing governmental entity.

         A.          Permissible documentation

          In determining whether to contribute funds to provide the state share of supplemental
          payments and/or the amount of such contribution, a governmental entity may rely on
          documentation that demonstrates the amount and types of indigent care needs in the
          community and the amount and types of health care (including indigent health care and
          Medicaid services) historically provided in the community. The governmental entity may
          not condition the amount to which it funds the non-Federal share of supplemental
          payments on a specified or required minimum amount of prospective indigent care.

          Any documentation utilized in connection with a contribution of funds shall be publicly
          available for review.

         B.          Certification

          DHH will require certifications from both funding governmental entities and private
          hospitals that affirm the following:
                  (1)   That there is no agreement to condition the amount contributed by the
                        government entities nor the amount of Medicaid supplemental payments
                        on the amount of indigent care a private hospital has provided or will
                        provide;

                 (2)    That there is no agreement to condition the amount of the private
                        hospital’s indigent care obligation on the amount contributed by the
                        government entities nor the amount of any Medicaid supplemental
                        payment the hospital might receive;

                 (3)    That no escrow, trust, or other funding mechanism exists, the amount of
                        which is conditioned or contingent on the amount of indigent care services
                        provided or to be provided by private hospitals receiving Medicaid
                        supplemental payments; and that any escrow, trust or other funding
                        mechanism utilized in connection with an anticipated contribution from a
                        governmental entity has been disclosed to DHH and is in no way intended
                        to facilitate or constitute a quid pro quo for the provision of indigent care
                        services by or on behalf of the private hospitals; and

                 (4)    That the governmental entity has not received and will not receive refunds
                        of payments the governmental entity made or makes to the private
                        hospitals for any purpose in consideration for an IGT by the government
                        entity to fund Medicaid supplemental payments.

       A governmental entity may retrospectively evaluate the amount and impact of a
       hospital’s indigent care delivery during the period it receives supplemental payments and
       can rely on such historical information in determining whether, and to what degree, it will
       make a contribution and/or set aside government funds in an escrow account in the
       future.

II.    No cash or in-kind transfers

The Private Hospital UPL supplemental payment program must not include cash or in-kind
transfers from collaborating private hospitals to the governmental entities that supply the state
share of Medicaid supplemental payments other than transfers and transactions that are unrelated
to the administration of the Private Hospital UPL supplemental payment program and/or the
delivery of indigent care services and represent:

                 (1)    Fair market value    for goods   and/or   services   rendered   to the private
                        hospital; and

                 (2)    Independent, bona fide transactions negotiated at arms-length and in the
                        ordinary course of business between the hospital and the governmental
                        entity,
Il.   Performance evaluations allowable

      A.      Authority of Governmental Entity to Evaluate Impact

      A governmental entity that supplies the state share of Medicaid supplemental payments
      under   State Plan Amendments     TN   09-55,   09-56   and   10-26     must,    consistent with its
      fiduciary duty under the Louisiana Constitution and state law, have the ability to
      determine whether its investment of taxpayer funds increases the level of indigent care
      provided in the community and improves access to care for the needy in its community.

      B.      Audit Authority

      To that end, a governmental entity may implement reasonable pre- and post performance
      evaluation measures to—

              (1)     Determine whether to execute a Low Income                        and   Needy     Care
                      Collaboration Agreement with a private hospital;

              (2)     Determine whether to continue a Low Income                       and   Needy     Care
                      Collaboration Agreement with a private hospital; and

              (3)     Provide accountability to local taxpayers.

      C.      Pre-performance Evaluation Criteria

      A governmental entity may consult with community leaders, advocates for the poor, and
      other stakeholders in assessing the opportunities to improve access to health care for
      indigent persons residing in the community through participation in the Private Hospital
      UPL supplemental payment program.           These efforts can be documented in a form
      acceptable to the governmental entity to confirm achievement of the governmental
      entity’s mission and provide an appropriate and constitutional basis on which to supply
      taxpayer funds to the State for the purpose of supplying the state share of costs.

      This documentation, however, must not include:

              (1)   | A commitment that a private hospital perform or supply an amount of
                      indigent care that is determined or measured on the basis of the amount of
                      Medicaid   supplemental    funds   it receives;   or,     a     commitment     that   a
                      government entity will contribute as the non-Federal share of Medicaid
                      supplemental payments an amount that is determined or measured by the
                      amount of indigent care a hospital performs or supplies.

              (2)    An agreement to refund any type of payments made by the governmental
                     entity to the private hospital; or
                  (3)      An assessment of a hospital’s performance based solely on the amount of
                           services the hospital provides to Medicaid recipients.’

         Dz.      Post-performance Evaluation Criteria

         A governmental entity may retrospectively evaluate the performance of a private hospital
         that is collaborating with the governmental entity to determine whether the hospital’s
         participation benefited the community and whether its continued participation in the
         program is likely to continue benefiting the community. The governmental entity may
         collect, analyze, and report such data to the taxpayers on a post-hoc basis on an annual,
         semi-annual, or quarterly schedule. The governmental entity may not attempt to recoup
         funds from a private hospital that it determines has not adequately performed under the
         Low Income and Needy Care Collaboration Agreement.



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' A governmental entity may take into account all forms of indigent care, charity care, or care to the needy a
collaborating private hospital provides, including care to Medicaid recipients; provided, however, the amount of
Medicaid services is not the sole criterion.
